Case 8:17-cv-02025-MSS-AAS Document 17 Filed 01/05/18 Page 1 of 1 PageID 81



                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

AMY ROBINSON,

       Plaintiff,

v.                                                      Case No: 8:17-cv-2025-T-35AAS

NATIONWIDE ACCEPTANCE LLC,

       Defendant.


                      ORDER OF DISMISSAL WITH PREJUDICE

       Upon consideration of the Parties’ Joint Stipulation of Dismissal with Prejudice,

(Dkt. 16), and pursuant to Fed. R. Civ. P. 41, it is hereby

       ORDERED that this case is DISMISSED WITH PREJUDICE. Each party shall

bear its own attorneys’ fees and costs associated with this matter. The Clerk is directed

to terminate any pending motions and CLOSE this case.

       DONE and ORDERED at Tampa, Florida this 5thday of January, 2018.




Copies furnished to:
Counsel of Record
Any Unrepresented Party
